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                           IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION
ROBERT (BOB) ROSS,                                    §
                                                      §
Vv.                                                   §    CIVIL ACTION NO, 4:22-CV-343-Y
                                                      §    (Consolidated w/ 4:22-CV-430-Y)
ASSOCIATION OF PROFESSIONAL                           §
FLIGHT ATTENDANTS, et al,                             §
                                                      §
EUGENIO VARGAS,                                       §
                                                      §
Vv.                                                   §
                                                       §
ASSOCIATION OF PROFESSIONAL                            §
FLIGHT ATTENDANTS, et al.,                             §
      ORDER GRANTING DEFENDANTS’                    APPLICATION        FOR ATTORNEY’S           FEES

           Pending before the Court is Defendants’         Application for Attorney’s Fees [doc. 228].

Having carefully considered the motion and the evidence presented, the Court concludes that

Defendants’ motion should be GRANTED.

           On March    1, 2024, this Court granted Defendants’       Motion   for Sanctions   [doc. 219].

Specifically, infer alia, the Court ordered:

      1,   Phillips shall pay Defendants’ reasonable costs and attorney’s fees for the February

           1-2, 2024 depositions, filing of this motion, and depositions ordered herein (“Court

           Ordered Depositions”); and

      2.   Defendants shall file with the Court an itemized and detailed list for their reasonable
           costs and attorney’s fees, no later than seven days after the completion of the Court
           Ordered Depositions. Plaintiffs shall have seven days to file any objections to the
           reasonableness of those costs and attorney’s fees submitted by Defendants.

           (ECF 219 at 23).
           In compliance with the Court’s order, Defendants filed their application for attorney’s fees,

on March 22, 2024, requesting that the Court grant them $19,420.00 in reasonable attorney’s fees
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and $8,283.30 in costs.    (ECF 228).   Plaintiffs’ seven-day objection period has run, and they did

not file any objections to Defendants’ requested fees or costs.      Therefore, the Court will review

the requested fees and costs in compliance with current Fifth Circuit precedent.

         In the Fifth Circuit, the “lodestar” method is used to calculate attorney’s fees for purposes

of fee awards, Tollett y. City of Kemah, 285 F.3d 357, 367-68 (Sth Cir. 2002); McAfee v. Schneider

Nat'l Carriers, Inc., No. 3:14-CV-1500-P, 2015 WL 9319178, at *2 (N.D. Tex. Dec. 23, 2015).

In calculating a lodestar,    the number    of hours   reasonably    expended   are multiplied   by   an

appropriate hourly rate in the community for such work.         Singer v. City of Waco, 324 F.3d 813,

829 (5th Cir. 2003) (citing Heidtman v. Cty. of El Paso, 171 F.3d 1038, 1043 (Sth Cir. 1999)). The

Court then considers whether the lodestar figure should be adjusted upward or downward based

on the twelve factors set forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-

19 (Sth Cir. 1974), overruled on other grounds by Blanchard v. Bergeron, 489 U.S, 87 (1989). See

Watkins v. Fordice, 7 F.3d 453, 457 (Sth Cir. 1993).       “The lodestar, however, is presumptively

reasonable and should be modified only in exceptional cases.”        Watkins, 7 F.3d at 457; see Black

y. SettlePou, P.C., 732 F.3d 492, 496 (Sth Cir. 2013).

         Defendants’ requested costs and fees are as follows:

    1.   Reporter, February 1-2, 2024, depositions: $2268.50;

   2.    Reporter, Court Ordered Deposition of Mr. Vargas: $964.50;

   3.    Videographer, February 1-2, 2024, depositions: $1525.00;

   4,    Videographer, Court Ordered Depositions: $1295.00;

   5.    Deposition location, February 1-2, 2024, depositions: $1280.00;

   6.    Reasonable travel expenses for counsel, February 1-2, 2024, depositions: $950.30;

   7.    [Attorney’s fees for the] Filling [sic] of Defendants’ motion: $13,198.75;

   8.    [Attorney’s fees for the] February 1-2, 2024, deposition: $3555.00;
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     9,     [Attorney’s fees for the] Court Ordered Depositions: $2666.25.

(ECF 228 at 2-3).

            As a preliminary matter, Defendants’ requested costs all comply with this Court’s order

and are hereby       GRANTED.            Turning    now    to attorney’s fees, Defendants’            application and

appendix in support reveal that Defendants’ counsel billed a total of $19,420.00 for four days of

depositions and the relevant motion for sanctions.              (ECFs 228, 229). The record also reflects that

Defendants’ counsel billed at a rate between $350.00 and $395.00 which is reasonable in this

district.    See, eg., Cloud v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. 3:20-cv-1277-S,

2022 WL 2805527 at *13 (N.D. Tex. July 18, 2022). The Court finds that, pursuant to the loadstar

method, the number of hours billed, and the billing rate are reasonable.                        Additionally, having

considered the Johnson factors, the Court finds that the lodestar does not require any modification. !

Accordingly, the Court finds that Defendants’ application is GRANTED                             with regard to their

attorney’s fees.




           ' Specifically, the Court notes the following: (1) the time and labor required is proportional to the number of
hours expended and the hourly rates charged by Defendants’ counsel; (2) the issues involved were neither novel nor
particularly difficult and did not require, based on the reasonable hourly rate requested and the amount of hours
expended, a modification; (3) the hourly rate and amount of hours expended was reasonable in light of the novelty
and difficulty of the discovery and sanction issues involved; (4) Defendants’ counsel was precluded from doing other
work, which was taken into consideration in the number of hours expended and the hourly rate; (5) Defendants’
counsel sought a reasonable and customary fee based upon their skill, experience, and reputation; (6) the fee sought
appears to be a fixed fee billed by Defendants’ counsel to Defendants; (7) the number of hours expended and hourly
fee charged was reasonable in light of the time limitations imposed by the Court; (8) the number of hours expended
and hourly fee charged was reasonable based on the fact that Defendants were successful in pursuing their motion
against Plaintiffs and based upon the type of case involved, (9) Defendants’ counsel has considerable experience, a
good reputation, and a successful law practice as evidenced by the exhibits submitted to the Court; (10) this case is
not particularly undesirable and, thus, no upward modification is required; (11) there is no information regarding the
length of Defendants’ counsel’s relationship with Plaintiff; and (12) the amount of attorneys’ fees awarded is not
excessive based on awards in similar cases,
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                                              CONCLUSION

        Based   on   the   foregoing,   the   Court   finds   that   Defendants’   Application   should   be

GRANTED.        The Court finds that Defendants are entitled to $19,420.00 in reasonable attorney’s

fees and $8,283.30 in costs.

        It is therefore ORDERED         that Plaintiffs’ counsel shall pay Defendants $19,420.00 in

reasonable attorney’s fees and $8,283.30 in costs for a total of $27,703.30.        Payment is due within

30 days of the date of this order unless the parties and counsel agree to a different payment

schedule.

        IT IS SO ORDERED

                SIGNED April 2, 2024.
